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                             UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION – IN ADMIRALTY

                                                            CASE NO. 8:21-CV-00420-CEH-SPF

  IN RE: INTREPID MARINE TOWING &
  SALVAGE, INC. d/b/a SEA TOW
  CLEARWATER/PORT RICHEY and
  JASON PATRICK LAMB as owners of a
  1998 WORLD CAT 266SS, Vessel
  Identification Number EPY662178898, FL
  Registration Number FL3588KF, FOR
  EXONERATION AND/OR LIMITATION
  OF LIABILITY
  ___________________________________/


     CLAIMS OF NICHOLAS CACHUSSIE, ADRIENNE CACHUSSIE, AND CHERYL
                              WATKINS
         Claimants, NICHOLAS CACHUSSIE, ADRIENNE CACHUSSIE, AND CHERYL

  WATKINS, by and through their undersigned counsel and pursuant to Supplemental Rule F (5),

  makes claim for personal and emotional injuries and damages as against the Petitioners,

  INTREPID MARINE TOWING & SALVAGE, INC. d/b/a SEA TOW CLEARWATER/PORT

  RICHEY (hereinafter “INTREPID MARINE”) and JASON PATRICK LAMB (hereinafter

  “LAMB”) as owners of a 1998 World Cat 266SS motor vessel, its engines, tackle, apparel, and

  appurtenances, and alleges as follows:

                                    GENERAL ALLEGATIONS

         1.      This is an action for damages under the General Maritime Law of the United

  States and the laws of the State of Florida.

         2.      At all times material hereto, Claimant, NICHOLAS CACHUSSIE, was a resident

  of New Port Richey, Pasco County, Florida.
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         3.      At all times material hereto, Claimant, ADRIENNE CACHUSSIE, was a resident

  of New Port Richey, Pasco County, Florida.

         4.      At all times material hereto, Claimant, CHERYL WATKINS, was a resident of

  Hudson, Pasco County, Florida.

         5.      At all times material hereto, Petitioner, INTREPID MARINE, was and is a

  corporation, organized and existing pursuant to the laws of the State of Florida and the registered

  owner of the 1998 World Cat 266SS motor vessel, bearing Vessel Identification Number

  EPY662178898 and Florida Registration Number FL3588KF.

         6.      At all times material hereto, Petitioner, JASON PATRICK LAMB, was and is

  upon information and belief a resident of Pasco County, Florida and the purported owner/owner

  pro hac vice of the 1998 World Cat 266SS motor vessel (hereinafter “World Cat”), bearing

  Vessel Identification Number EPY662178898 and Florida Registration Number FL3588KF.

         7.      At all times material hereto, Petitioners owned, operated, managed, navigated,

  controlled, and/or maintained the World Cat as a private, commercial vessel for use upon the

  navigable waters of the State of Florida.

         8.      At all times material hereto, Curtis Lee Snyder was acting within the course and

  scope of his employment with INTREPID MARINE TOWING & SALVAGE, INC. d/b/a SEA

  TOW CLEARWATER/PORT RICHEY.

         9.      On or about June 14, 2020, Claimants, NICHOLAS CACHUSSIE, ADRIENNE

  CACHUSSIE, and CHERYL WATKINS (hereinafter collectively referred to as “Claimants”),

  were anchored and fishing at Latitude 28°20.101000’ / Longitude -82°47.320000’.

         10.     On or about June 14, 2020, Curtis Lee Snyder, was captaining the World Cat in

  the same vicinity at Claimants’ anchored vessel.
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         11.     At this time and place, Curtis Lee Snyder captained and controlled the World Cat

  in such a way as to make it collide with Claimants’ stationary vessel.

         12.     Upon information and belief, Curtis Lee Snyder was not actively manning the

  World Cat, having placed it on autopilot, and was on a phone call at the time of the collision.

         13.     Claimant, NICHOLAS CACHUSSIE, having seen the fast-approaching World

  Cat, screamed to his fellow passengers to jump from their boat. Unfortunately, Claimants

  weren’t able to clear the area prior to the World Cat violently colliding with Claimants’ vessel.

  The Claimants were launched into the water and the World Cat came to rest on top of the

  Claimant’s vessel.

         14.     Upon return to land, Curtis Lee Snyder was requested to take a field sobriety test

  by Florida Fish and Wildlife Commission and the United States Coast Guard. He declined to take

  the requested test.

         15.     Due to the negligence of Curtis Lee Snyder and Petitioners, Claimants have

  suffered severe and permanent injuries.

                                              COUNT I

      (ALLEGATIONS AS TO NEGLIGENCE OF PETITIONER INTREPID MARINE

                           WITHIN ITS PRIVITY OR KNOWLEDGE)

         Claimant, NICHOLAS CACHUSSIE, adopts, realleges, and reavers the General

  Allegations of Paragraphs one (1) through fifteen (15) above as if fully set forth at length herein

  and further states:

         16.     At all times material hereto, Petitioner, INTREPID MARINE, owed a

  nondelegable duty of reasonable care under the circumstances to ensure that the subject vessel

  was properly maintained and seaworthy and that operators thereof, including Curtis Lee Snyder,
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  were licensed and credentialed, had the requisite training and experience to safely navigate,

  operate or control the subject vessel or otherwise would not operate said vessel under the

  influence of alcohol or drugs.

         17.     Petitioner, INTREPID MARINE, breached its duty of care owed to Claimant

  NICHOLAS CACHUSSIE, and otherwise demonstrated its negligence by virtue of the following

  non-exclusive acts or omissions:

                 A) Petitioner failed to keep or maintain a seaworthy vessel;

                 B) Petitioner failed to properly instruct employee Curtis Lee Snyder on the safe

                 operation of the subject vessel prior to his use thereof;

                 C) Petitioner failed to ensure that employee Curtis Lee Snyder was licensed or

                 credentialed or otherwise had the requisite training and experience to safely

                 navigate, operate or control the subject vessel;

                 D) Petitioner failed to ensure that employee Curtis Lee Snyder exercised proper

                 safety procedures and protocols in the operation of the subject vessel in inclement

                 weather.

                 E) Petitioner failed to ensure that employee Curtis Lee Snyder would not operate

                 the subject vessel under the influence of alcohol or drugs.

         18.     At all times material hereto, it was foreseeable to Petitioner, INTREPID

  MARINE, that a breach of the aforementioned duties would create a zone of danger or increased

  risk of harm to passengers aboard the subject vessel, including Claimant, NICHOLAS

  CACHUSSIE.

         19.     As a direct and proximate result of the foregoing acts of negligence of the

  Petitioner, INTREPID MARINE, claimant, NICHOLAS CACHUSSIE, sustained psychological
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  and emotional injuries, trauma and resulting pain and suffering, with physical manifestations of

  his emotional distress, mental anguish, loss of capacity for enjoyment of life, past and future

  medical and psychological care and treatment. These losses are permanent and continue and the

  claimant will continue to suffer such losses in the future.

           20.   The aforesaid acts of negligence occurred or were occasioned within the privity

  and knowledge of the Petitioner, INTREPID MARINE.

           WHEREFORE, Claimant, NICHOLAS CACHUSSIE, prays that he be allowed to make

  due proof of his claims as against the Petitioners for all losses and damages plus pre-judgment

  interest and costs, that Petitioner’s right to Exoneration from or Limitation of Liability be denied,

  that Petitioner be required to increase the “agreed value” of the subject vessel and for such other

  and further relief deemed just and proper under the circumstances.

                                              COUNT II

      (ALLEGATIONS AS TO NEGLIGENCE OF PETITIONER LAMB WITHIN HIS

                                   PRIVITY OR KNOWLEDGE)

           Claimant, NICHOLAS CACHUSSIE, adopts, realleges, and reavers the General

  Allegations of Paragraphs one (1) through fifteen (15) above as if fully set forth at length herein

  and further states:

           21.   At all times material hereto, Petitioner, LAMB, owed a nondelegable duty of

  reasonable care under the circumstances to ensure that the subject vessel was properly

  maintained and seaworthy and that operators thereof, including Curtis Lee Snyder, were licensed

  and credentialed, had the requisite training and experience to safely navigate, operate or control

  the subject vessel or otherwise would not operate said vessel under the influence of alcohol or

  drugs.
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         22.     Petitioner, LAMB, breached its duty of care owed to Claimant NICHOLAS

  CACHUSSIE, and otherwise demonstrated its negligence by virtue of the following non-

  exclusive acts or omissions:

                 A) Petitioner failed to keep or maintain a seaworthy vessel;

                 B) Petitioner failed to properly instruct employee Curtis Lee Snyder on the safe

                 operation of the subject vessel prior to his use thereof;

                 C) Petitioner failed to ensure that employee Curtis Lee Snyder was licensed or

                 credentialed or otherwise had the requisite training and experience to safely

                 navigate, operate or control the subject vessel;

                 D) Petitioner failed to ensure that employee Curtis Lee Snyder exercised proper

                 safety procedures and protocols in the operation of the subject vessel in inclement

                 weather.

                 E) Petitioner failed to ensure that employee Curtis Lee Snyder would not operate

                 the subject vessel under the influence of alcohol or drugs.

         23.     At all times material hereto, it was foreseeable to Petitioner, LAMB, that a breach

  of the aforementioned duties would create a zone of danger or increased risk of harm to

  passengers aboard the subject vessel, including Claimant, NICHOLAS CACHUSSIE.

         24.     As a direct and proximate result of the foregoing acts of negligence of the

  Petitioner, LAMB, claimant, NICHOLAS CACHUSSIE, sustained psychological and emotional

  injuries, trauma and resulting pain and suffering, with physical manifestations of his emotional

  distress, mental anguish, loss of capacity for enjoyment of life, past and future medical and

  psychological care and treatment. These losses are permanent and continue and the claimant will

  continue to suffer such losses in the future.
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         25.     The aforesaid acts of negligence occurred or were occasioned within the privity

  and knowledge of the Petitioner, LAMB.

         WHEREFORE, Claimant, NICHOLAS CACHUSSIE, prays that he be allowed to make

  due proof of his claims as against the Petitioners for all losses and damages plus pre-judgment

  interest and costs, that Petitioner’s right to Exoneration from or Limitation of Liability be denied,

  that Petitioner be required to increase the “agreed value” of the subject vessel and for such other

  and further relief deemed just and proper under the circumstances.

                                              COUNT III

          (ALLEGATIONS AS TO NEGLIGENCE OF PETITIONER INTREPID MARINE

                           WITHIN ITS PRIVITY OR KNOWLEDGE)

         Claimant, ADRIENNE CACHUSSIE, adopts, realleges, and reavers the General

  Allegations of Paragraphs one (1) through fifteen (15) above as if fully set forth at length herein

  and further states:

         26.     At all times material hereto, Petitioner, INTREPID MARINE, owed a

  nondelegable duty of reasonable care under the circumstances to ensure that the subject vessel

  was properly maintained and seaworthy and that operators thereof, including Curtis Lee Snyder,

  were licensed and credentialed, had the requisite training and experience to safely navigate,

  operate or control the subject vessel or otherwise would not operate said vessel under the

  influence of alcohol or drugs.

         27.     Petitioner, INTREPID MARINE, breached its duty of care owed to Claimant

  ADRIENNE CACHUSSIE, and otherwise demonstrated its negligence by virtue of the following

  non-exclusive acts or omissions:

                 A) Petitioner failed to keep or maintain a seaworthy vessel;
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                 B) Petitioner failed to properly instruct employee Curtis Lee Snyder on the safe

                 operation of the subject vessel prior to his use thereof;

                 C) Petitioner failed to ensure that employee Curtis Lee Snyder was licensed or

                 credentialed or otherwise had the requisite training and experience to safely

                 navigate, operate or control the subject vessel;

                 D) Petitioner failed to ensure that employee Curtis Lee Snyder exercised proper

                 safety procedures and protocols in the operation of the subject vessel in inclement

                 weather.

                 E) Petitioner failed to ensure that employee Curtis Lee Snyder would not operate

                 the subject vessel under the influence of alcohol or drugs.

         28.     At all times material hereto, it was foreseeable to Petitioner, INTREPID

  MARINE, that a breach of the aforementioned duties would create a zone of danger or increased

  risk of harm to passengers aboard the subject vessel, including Claimant, ADRIENNE

  CACHUSSIE.

         29.     As a direct and proximate result of the foregoing acts of negligence of the

  Petitioner, INTREPID MARINE, claimant, ADRIENNE CACHUSSIE, sustained psychological

  and emotional injuries, trauma and resulting pain and suffering, with physical manifestations of

  her emotional distress, mental anguish, loss of capacity for enjoyment of life, past and future

  medical and psychological care and treatment. These losses are permanent and continue and the

  claimant will continue to suffer such losses in the future.

         30.     The aforesaid acts of negligence occurred or were occasioned within the privity

  and knowledge of the Petitioner, INTREPID MARINE.
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           WHEREFORE, Claimant, ADRIENNE CACHUSSIE, prays that she be allowed to make

  due proof of her claims as against the Petitioners for all losses and damages plus pre-judgment

  interest and costs, that Petitioner’s right to Exoneration from or Limitation of Liability be denied,

  that Petitioner be required to increase the “agreed value” of the subject vessel and for such other

  and further relief deemed just and proper under the circumstances.

                                              COUNT IV

           (ALLEGATIONS AS TO NEGLIGENCE OF PETITIONER LAMB WITHIN HIS

                                   PRIVITY OR KNOWLEDGE)

           Claimant, ADRIENNE CACHUSSIE, adopts, realleges, and reavers the General

  Allegations of Paragraphs one (1) through fifteen (15) above as if fully set forth at length herein

  and further states:

           31.   At all times material hereto, Petitioner, LAMB, owed a nondelegable duty of

  reasonable care under the circumstances to ensure that the subject vessel was properly

  maintained and seaworthy and that operators thereof, including Curtis Lee Snyder, were licensed

  and credentialed, had the requisite training and experience to safely navigate, operate or control

  the subject vessel or otherwise would not operate said vessel under the influence of alcohol or

  drugs.

           32.   Petitioner, LAMB, breached its duty of care owed to Claimant ADRIENNE

  CACHUSSIE, and otherwise demonstrated its negligence by virtue of the following non-

  exclusive acts or omissions:

                 A) Petitioner failed to keep or maintain a seaworthy vessel;

                 B) Petitioner failed to properly instruct employee Curtis Lee Snyder on the safe

                 operation of the subject vessel prior to his use thereof;
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                C) Petitioner failed to ensure that employee Curtis Lee Snyder was licensed or

                credentialed or otherwise had the requisite training and experience to safely

                navigate, operate or control the subject vessel;

                D) Petitioner failed to ensure that employee Curtis Lee Snyder exercised proper

                safety procedures and protocols in the operation of the subject vessel in inclement

                weather.

                E) Petitioner failed to ensure that employee Curtis Lee Snyder would not operate

                the subject vessel under the influence of alcohol or drugs.

        33.     At all times material hereto, it was foreseeable to Petitioner, LAMB, that a breach

 of the aforementioned duties would create a zone of danger or increased risk of harm to

 passengers aboard the subject vessel, including Claimant, ADRIENNE CACHUSSIE.

        34.     As a direct and proximate result of the foregoing acts of negligence of the

 Petitioner, LAMB, claimant, ADRIENNE CACHUSSIE, sustained psychological and emotional

 injuries, trauma and resulting pain and suffering, with physical manifestations of her emotional

 distress, mental anguish, loss of capacity for enjoyment of life, past and future medical and

 psychological care and treatment. These losses are permanent and continue and the claimant will

 continue to suffer such losses in the future.

        35.     The aforesaid acts of negligence occurred or were occasioned within the privity

 and knowledge of the Petitioner, LAMB.

        WHEREFORE, Claimant, ADRIENNE CACHUSSIE, prays that she be allowed to make

 due proof of her claims as against the Petitioners for all losses and damages plus pre-judgment

 interest and costs, that Petitioner’s right to Exoneration from or Limitation of Liability be denied,
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 that Petitioner be required to increase the “agreed value” of the subject vessel and for such other

 and further relief deemed just and proper under the circumstances.

                                              COUNT V

           ALLEGATIONS AS TO NEGLIGENCE OF PETITIONER LAMB WITHIN HIS

                                   PRIVITY OR KNOWLEDGE

           Claimant, CHERYL WATKINS, adopts, realleges, and reavers the General Allegations

 of Paragraphs one (1) through fifteen (15) above as if fully set forth at length herein and further

 states:

           36.   At all times material hereto, Petitioner, INTREPID MARINE, owed a

 nondelegable duty of reasonable care under the circumstances to ensure that the subject vessel

 was properly maintained and seaworthy and that operators thereof, including Curtis Lee Snyder,

 were licensed and credentialed, had the requisite training and experience to safely navigate,

 operate or control the subject vessel or otherwise would not operate said vessel under the

 influence of alcohol or drugs.

           37.   Petitioner, INTREPID MARINE, breached its duty of care owed to Claimant

 CHERYL WATKINS, and otherwise demonstrated its negligence by virtue of the following non-

 exclusive acts or omissions:

                 A) Petitioner failed to keep or maintain a seaworthy vessel;

                 B) Petitioner failed to properly instruct employee Curtis Lee Snyder on the safe

                 operation of the subject vessel prior to his use thereof;

                 C) Petitioner failed to ensure that employee Curtis Lee Snyder was licensed or

                 credentialed or otherwise had the requisite training and experience to safely

                 navigate, operate or control the subject vessel;
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                D) Petitioner failed to ensure that employee Curtis Lee Snyder exercised proper

                safety procedures and protocols in the operation of the subject vessel in inclement

                weather.

                E) Petitioner failed to ensure that employee Curtis Lee Snyder would not operate

                the subject vessel under the influence of alcohol or drugs.

        38.     At all times material hereto, it was foreseeable to Petitioner, INTREPID

 MARINE, that a breach of the aforementioned duties would create a zone of danger or increased

 risk of harm to passengers aboard the subject vessel, including Claimant, CHERYL WATKINS.

        39.     As a direct and proximate result of the foregoing acts of negligence of the

 Petitioner, INTREPID MARINE, claimant, CHERYL WATKINS, sustained psychological and

 emotional injuries, trauma and resulting pain and suffering, with physical manifestations of her

 emotional distress, mental anguish, loss of capacity for enjoyment of life, past and future medical

 and psychological care and treatment. These losses are permanent and continue and the claimant

 will continue to suffer such losses in the future.

        40.     The aforesaid acts of negligence occurred or were occasioned within the privity

 and knowledge of the Petitioner, INTREPID MARINE.

        WHEREFORE, Claimant, CHERYL WATKINS, prays that she be allowed to make due

 proof of her claims as against the Petitioners for all losses and damages plus pre-judgment

 interest and costs, that Petitioner’s right to Exoneration from or Limitation of Liability be denied,

 that Petitioner be required to increase the “agreed value” of the subject vessel and for such other

 and further relief deemed just and proper under the circumstances.

                                             COUNT VI
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           (ALLEGATIONS AS TO NEGLIGENCE OF PETITIONER LAMB WITHIN HIS

                                  PRIVITY OR KNOWLEDGE)

           Claimant, CHERYL WATKINS, adopts, realleges, and reavers the General Allegations

 of Paragraphs one (1) through fifteen (15) above as if fully set forth at length herein and further

 states:

           41.   At all times material hereto, Petitioner, LAMB, owed a nondelegable duty of

 reasonable care under the circumstances to ensure that the subject vessel was properly

 maintained and seaworthy and that operators thereof, including Curtis Lee Snyder, were licensed

 and credentialed, had the requisite training and experience to safely navigate, operate or control

 the subject vessel or otherwise would not operate said vessel under the influence of alcohol or

 drugs.

           42.   Petitioner, LAMB, breached its duty of care owed to Claimant CHERYL

 WATKINS, and otherwise demonstrated its negligence by virtue of the following non-exclusive

 acts or omissions:

                 A) Petitioner failed to keep or maintain a seaworthy vessel;

                 B) Petitioner failed to properly instruct employee Curtis Lee Snyder on the safe

                 operation of the subject vessel prior to his use thereof;

                 C) Petitioner failed to ensure that employee Curtis Lee Snyder was licensed or

                 credentialed or otherwise had the requisite training and experience to safely

                 navigate, operate or control the subject vessel;

                 D) Petitioner failed to ensure that employee Curtis Lee Snyder exercised proper

                 safety procedures and protocols in the operation of the subject vessel in inclement

                 weather.
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                E) Petitioner failed to ensure that employee Curtis Lee Snyder would not operate

                the subject vessel under the influence of alcohol or drugs.

        43.     At all times material hereto, it was foreseeable to Petitioner, LAMB, that a breach

 of the aforementioned duties would create a zone of danger or increased risk of harm to

 passengers aboard the subject vessel, including Claimant, CHERYL WATKINS.

        44.     As a direct and proximate result of the foregoing acts of negligence of the

 Petitioner, LAMB, claimant, CHERYL WATKINS, sustained psychological and emotional

 injuries, trauma and resulting pain and suffering, with physical manifestations of her emotional

 distress, mental anguish, loss of capacity for enjoyment of life, past and future medical and

 psychological care and treatment. These losses are permanent and continue and the claimant will

 continue to suffer such losses in the future.

        45.     The aforesaid acts of negligence occurred or were occasioned within the privity

 and knowledge of the Petitioner, LAMB.

        WHEREFORE, Claimant, CHERYL WATKINS, prays that she be allowed to make due

 proof of her claims as against the Petitioners for all losses and damages plus pre-judgment

 interest and costs, that Petitioner’s right to Exoneration from or Limitation of Liability be denied,

 that Petitioner be required to increase the “agreed value” of the subject vessel and for such other

 and further relief deemed just and proper under the circumstances.

        I HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of Court

 via CM/ECF on the 17th day of May, 2021. I also certify that the foregoing was served on Raul J.

 Chacon, Jr., rchacon@mgmlaw.com, Jonathan Hernandez, jhernandez@mgmlaw.com, Gustavo

 Adolfo Martinez-Tristani, gmartinez@mgmlaw.com, either via transmission of Notices of
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 Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel of

 parties who are not authorized to receive electronic Notices of Filing.

                                                   FLORIN ROEBIG, PA

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